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IN THE UNITED STATES DISTRICT court! |
FOR THE NORTHERN DISTRICT OF (TEXAS APR - 9 2001 i

DALLAS DIVISION |
JULIANNE CONTRERAS, § CLERGUS. CURLS
Plaintiff, : ne
V. CIVIL ACTION NO.
WAFFLE HOUSE, INC. : (' ‘VO q OI i ee
Defendant. §
COMPLAINT
Plaintiff Julianne Contreras ("Contreras"), for her Complaint
against Defendant Waffle House, [Inc. ("WHI"), would show as
follows:
Parties
1. Contreras is an individual residing in this District.
2. WHI is a corporation not incorporated or having a

principal place of business in Texas which may be served through an
officer or managing or general agent at restaurant location at 120
Spring Valley, Richardson, Texas 75080 or through CT Corporation
System, 350 N. St. Paul St., Dallas, Texas 75201, its registered
agent for service of process.

Jurisdiction and Venue

3. This Court has jurisdiction over this action under 28
U.S.C. §§ 1331 based on Plaintiff's claim under 42 U.S.C. §2000e et
seg. and the parties' diversity of citizenship. Venue is proper
because all of the actions or omissions upon which Plaintiff's

claim is based occurred in the District.

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Facts
4, WHI is a restaurant chain.
5. In January 2000, Contreras sought a position of manager

of a restaurant location of WHI in Richardson, Texas. She was
offered the position on the condition that she first participate in
a training program for six weeks in the position of manager
trainee. She accepted the position subject to that condition.

6. For the first four weeks of her training, beginning in
mid-January 2000, Contreras was trained by the departing manager of
the restaurant location without incident. However, during the last
two week portion of the training period, Contreras was trained by
another WHI employee, Tony Foster, and Foster sexually harassed
her. The sexual harassment included unconsented touching of her
hips and torso from the rear, unconsented fondling of her hair,
requests for her to press against him frontally, unsolicited
comments of a sexual nature concerning her appearance, unsolicited
comments concerning her sexual relationship with her husband and
propositions to engage varieties of sexual contact, including by
reference to her performing on his body actions which she was
performing in the kitchen. Contreras objected and rebuffed him at
each occasion.

7. The conduct of Foster, and the objection of Contreras to
such conduct, was observed by Paul Ramirez, district manager, after
less than a week of the training under Mr. Foster had occurred, and
Contreras separately complained to Ramirez at that time and on
another occasion in a meeting with Ramirez for the purpose of

addressing the sexual harassment. Ramirez claimed in that meeting

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that action would be taken to address the sexual harassment by
Foster, but Foster was not removed from his position of trainer nor
otherwise inhibited from continuing his sexual harassment, and in
fact continued to sexually harass Contreras.

8. On March 10, 2000, based on the lack of any remedial
response to her complaint to sexual harassment, Contreras was
constructively discharged from her employment with WHI.

9. On April 26, 2000, Contreras timely filed a charge of
discrimination with the Equal Employment Opportunity Commission
("EEOC") for concurrent filing with the Texas Commission on Human
Rights with respect to her termination. On January 10, 2001, a
notice of right to sue with respect to the charge, and she has
timely filed a civil action within the 90 days of receipt of such
notice.

10. Contreras has suffered, and continues to suffer, from
emotional distress. Also as a consequence of her termination of
employment with WHI, Contreras has suffered, and continues to
suffer, financial distress, including lost earnings and lost
earning capacity.

Claim

11. For her first cause of action, Contreras would show that
she was subjected by WHI to discriminatory and retaliatory conduct
in violation of 42 U.S.C. §2000e et. seg. in (a) discharging her
and otherwise discriminating against her with respect to her
compensation, terms, conditions or privileges of employment on the
basis of her sex, (b) limiting, segregating or classifying her in

a way which would tend to deprive her, and did deprive her, of

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employment opportunity or which otherwise adversely affected her
status, on the basis of her sex, (c) otherwise retaliating and
discriminating against her as an employee of WHI, on the basis of
her opposing discriminatory practices against her.

12. For her second cause of action, Contreras would show that
Foster assaulted and battered her and that WHI ratified his conduct
in that regard.

13. For her second cause of action, Contreras would show that
Foster intentionally inflicted emotional distress upon him and that
WHI ratified his conduct in that regard.

14. On account of her claims, Contreras seeks all relief to
which she may be entitled, including back pay, front pay, actual
and compensatory damages, including for lost earnings, damage to
reputation and extreme emotional distress, prejudgment interest,
costs of court, attorney's fees and expenses, and on account of the
nature of the conduct of WHI, punitive damages.

13. Contreras requests a trial by jury to the full extent
permitted by the U.S. Constitution and other applicable law.

WHEREFORE, Plaintiff prays that this Court grant her all

relief which she is justly entitled.

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Respectfully submitted,

SOL

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COUNSEL FOR PLAINTIFF

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